     Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 1 of 11 PageID #:100




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TRAFFIX USA, INC.,                            )
                                              )
               Plaintiff,                     )
                                              )       Case No. 21-cv-3625
       v.                                     )
                                              )       Honorable Martha M. Pacold
ALTEX TRANSPORTATION, INC.,                   )       Magistrate Young B. Kim
                                              )
               Defendant.                     )

                    ALTEX TRANSPORTATION, INC.’S
      ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

       NOW COMES Defendant, ALTEX TRANSPORTATION, INC. (“Altex”), by and through

its attorneys, Leahy, Eisenberg & Fraenkel, Ltd., and for its Answer and Affirmative Defenses to

Plaintiff’s Complaint, states as follows:

                                            PARTIES

1.     Traffix USA Inc. is a long-standing third-party logistics specialist, whose office is

       located is located at 141 W Jackson Boulevard, Suite 2010A, Cook County, Chicago,

       Illinois 60604.

       ANSWER:           Altex lacks the requisite knowledge to either admit or deny the
                         allegations contained in Paragraph 1 and, therefore, denies the
                         same.

2.     Altex Transportation, Inc., is located at 2600 Rice Ave., West Sacramento, CA 95691.

       ANSWER:           Altex admits the allegations contained in Paragraph 2.

                                            COUNT I

        BREACH OF CONTRACT AGAINST ALTEX TRANSPORTATION. INC.

3.     On or about April 28, 2020, Traffix entered into a contract (hereinafter "Contract")

       with Altex for Load #529068 wherein Altex was to transport goods from Silgan -FTG

                                                  1
     Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 2 of 11 PageID #:101




       Dodge Alcan Plant, 3591 Maple Drive, Dock #6, Fort Dodge, IA, 50501 to Silgan

       Containers Manufacturing Corp., Pacific Coast, 1376 Lemen Ave. Woodland, CA

       95776. Altex would provide this service in exchange for $3,100.00. Said contract is

       attached as Exhibit “A.”

       ANSWER:       Altex admits that it was retained by Traffix USA, Inc. (“Plaintiff”), to

                     transport Load No. 529068 pursuant to the terms and conditions of

                     Exhibit A of Plaintiff’s Complaint, which is a written document that

                     speaks for itself with respect to its terms. To the extent that the

                     allegations contained in Paragraph 3 are inconsistent with Exhibit A,

                     as written, said allegations are denied.

4.     On or about April 28, 2020, Traffix entered into a second contract (hereinafter "Second

       Contract") with Altex for Load #529070 wherein Altex was to transport goods from Silgan

       -FTG Dodge Alcan Plant, 3591 Maple Drive, Dock #6, Fort Dodge, IA, 50501 to Silgan

       Containers Manufacturing Corp., Pacific Coast, 1376 Lemen Ave. Woodland, CA 95776.

       Altex would provide this service in exchange for $3,100.00. Said Second Contract is

       attached as Exhibit “B.”

       ANSWER:       Altex admits that it was retained by Plaintiff to transport Load No.

                     529070 pursuant to the terms and conditions of Exhibit B of Plaintiff’s

                     Complaint, which is a written document that speaks for itself with

                     respect to its terms. To the extent that the allegations contained in

                     Paragraph 4 are inconsistent with Exhibit B, as written, said allegations

                     are denied.




                                               2
     Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 3 of 11 PageID #:102




5.     According to both the Contract and Second Contract, the goods were to be picked up by

       Altex on April 30, 2020 and was to be delivered by May 4, 2020.

       ANSWER:        Altex states that Exhibits A and B of Plaintiff’s Complaint are

                      written documents that speak for themselves with respect to their

                      terms. To the extent that the allegations contained in Paragraph 5

                      are inconsistent with Exhibit A and B, as written, said allegations are

                      denied.

6.     While the cargo was in Altex's custody and control, they were responsible for any

       damages relating to the loss or destruction of the cargo.

       ANSWER:        Altex denies the allegations contained in Paragraph 6.

7.     The Contract and Second Contract both state that "CLAIMS AND DAMAGES WILL BE

       HELD AGAINST CARRIER ACCOUNT IN ARREARS UNTIL THE CLAIM IS

       SETTLED." See attached Exhibit "A" and "B."

       ANSWER:        Altex states that Exhibits A and B of Plaintiff’s Complaint are

                      written documents that speak for themselves with respect to their

                      terms. To the extent that the allegations contained in Paragraph 7

                      are inconsistent with Exhibit A and B, as written, said allegations are

                      denied.

8.     The Contract and Second Contract both state that "Silgan, or its affiliates, DO NOT

       ALLOW        TRANS-LOADING,            EQUIPMENT            (CET)   CHANGES,        OR

       ORIGIN/DESTINATION CHANGES OTHER THAN STATED ON EACH TENDER

       WITHOUT       WRITTEN        APPROVAL        FROM      AN     AUTHORIZED     SILGAN




                                                3
      Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 4 of 11 PageID #:103




        REPRESENTATIVE. Any deviation from this policy will result in a full claim with

        carrier potentially liable for disposal charges." See attached Exhibit "A" and "B."

        ANSWER:        Altex states that Exhibits A and B of Plaintiff’s Complaint are

                       written documents that speak for themselves with respect to their

                       terms. To the extent that the allegations contained in Paragraph 8

                       are inconsistent with Exhibit A and B, as written, said allegations are

                       denied.

9.      During the transport, the cargo became damaged.

        ANSWER:        Altex denies the allegations contained in Paragraph 9.

10.     Upon arrival, it was noticed that the container number did not match the paperwork. Upon

        investigation, it was determined that the pallets were off-loaded and reloaded onto another

        trailer. This is against Silgan policy and the ends are not able to be sold to the customer

        due to possible contamination.

        ANSWER:        Altex lacks the requisite knowledge to either admit or deny the

                       allegations contained in Paragraph 1 and, therefore, denies the same.

11.     Accordingly, Altex is in breach of the Contract and Second Contract, as Altex was

        responsible for the safety of the cargo while it was in their possession, and violated the

        Contract and Second Contract by Trans-loading without written approval.

        ANSWER:        Altex denies the allegations contained in Paragraph 11.

12.     As a result, Plaintiff is forced to reimburse Silgan for the damaged cargo.

        ANSWER:        Altex denies any liability with respect to reported damage to the

                       cargo. Altex lacks the requisite knowledge to either admit or deny




                                                  4
      Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 5 of 11 PageID #:104




                         the remaining allegations contained in Paragraph 12 and,

                         therefore, denies the same.

13.     Traffix has been damaged in the amount of $111,366.46, plus attorney's fees

        and damages.

        ANSWER:          Altex denies the allegations contained in Paragraph 13.

        WHEREFORE, Defendant, ALTEX TRANSPORTATION, INC., respectfully requests

that this Honorable Court enter judgment for it and against Plaintiff, and for any and all other relief

this Court deems equitable and just.

                                              COUNT II

                          UNJUST ENRICHMENT AGAINST ALTEX

14.     Plaintiff repeats and re-alleges each and every allegation set forth in Paragraphs 1 through

        13 as if same were set forth at length herein.

        ANSWER:          Altex adopts and reasserts its Answers to Paragraphs 1 through 13 as

                         if fully set forth herein.

15.     As an alternative to Count I, Plaintiff conferred a financial benefit on Altex by

        arranging for them to pick up $111.366.46 worth of cargo.

        ANSWER:          Altex denies the allegations contained in Paragraph 15.

16.     At time of delivery, the cargo was rejected due to damage. Upon arrival, it was noticed

        that the container number did not match the paperwork. Upon investigation, it was

        determined that the pallets were off-loaded and reloaded onto another trailer. This is

        against Silgan policy and the ends are not able to be sold to the customer due to possible

        contamination.

        ANSWER:          Altex denies the allegations contained in Paragraph 16.



                                                      5
      Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 6 of 11 PageID #:105




17.     By virtue of Altex's failure to safeguard the shipment, the damage to the product has

        resulted in a monetary loss to the Plaintiff.

        ANSWER:        Altex denies the allegations contained in Paragraph 17.

18.     As a result of the Defendant's actions, Plaintiff has suffered substantial damages.

        ANSWER:        Altex denies the allegations contained in Paragraph 18.

        WHEREFORE, Defendant, ALTEX TRANSPORTATION, INC., respectfully requests

that this Honorable Court enter judgment for it and against Plaintiff, and for any and all other relief

this Court deems equitable and just.

                                           COUNT III

                              NEGLIGENCE AGAINST ALTEX

19.     Plaintiff repeats and re-alleges each and every allegation set forth in Paragraphs 1 through

        18 as if same were set forth at length herein.

        ANSWER:        Altex adopts and reasserts its Answers to Paragraphs 1 through 18 as

                       if fully set forth herein.

20.     Altex had a duty to safeguard the cargo as an agent on behalf of Plaintiff.

        ANSWER:        Altex denies the allegations contained in Paragraph 20.

21.     Altex breached that duty. Upon arrival, it was noticed that the container number did not

        match the paperwork. Upon investigation, it was determined that the pallets were off-

        loaded and reloaded onto another trailer. This is against Silgan policy and the ends are not

        able to be sold to the customer due to possible contamination.

        ANSWER:        Altex denies the allegations contained in Paragraph 21.

22.     Altex's negligence proximately caused the breach by failing to act in a reasonable manner

        to safeguard the cargo.



                                                    6
      Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 7 of 11 PageID #:106




        ANSWER:        Altex denies the allegations contained in Paragraph 22.

23.     As a result, Plaintiff is forced to reimburse Silgan for the damaged cargo.

        ANSWER:        Altex denies any liability with respect to reported damage to the cargo.

        Altex lacks the requisite knowledge to either admit or deny the remaining allegations

        contained in Paragraph 23 and, therefore, denies the same.

24.     Traffix has been damaged in the amount of $111.366.46, plus attorney's fees and

        damages.

        ANSWER:        Altex denies the allegations contained in Paragraph 25.

        WHEREFORE, Defendant, ALTEX TRANSPORTATION, INC., respectfully requests

that this Honorable Court enter judgment for it and against Plaintiff, and for any and all other relief

this Court deems equitable and just.

                              AFFIRMATIVE DEFENSES

        NOW COMES Defendant, ALTEX TRANSPORTATION, INC. (“Altex”), by and through

its attorneys, Leahy, Eisenberg & Fraenkel, Ltd., and for its Affirmative Defenses to Plaintiff’s

Complaint, states as follows:

                                FIRST AFFIRMATIVE DEFENSE

        Traffix USA, Inc.’s (“Plaintiff”) Complaint fails to state a claim upon which relief can be

granted.

                             SECOND AFFIRMATIVE DEFENSE

        To the extent that Plaintiff seeks special and/or consequential damages, Altex is not

responsible for such amounts.




                                                  7
    Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 8 of 11 PageID #:107




                               THIRD AFFIRMATIVE DEFENSE

        The transportation of the cargo referred to in Plaintiff’s Complaint was conducted in

accordance with and subject to all the terms and conditions of Exhibits A and B of Plaintiff’s

Complaint, as well as all applicable transportation contracts, classifications and tariffs, and the

rules, regulations and practices of Altex.

                              FOURTH AFFIRMATIVE DEFENSE

        Altex refers to and relies upon any and all defenses, conditions, rules and regulations of or

within any contracts, contracts of carriage, bills of lading, classifications and tariffs for the subject

transportation.

                               FIFTH AFFIRMATIVE DEFENSE

        To the extent that Exhibits A and B of Plaintiff’s Complaint, contract of carriage, bills of

lading, and all applicable transportation contracts, classifications and tariffs, rules and regulations

set forth therein, and the rules, regulations and practices of Altex provided for any limitation of

liability for any loss or damage to the shipments in question, Plaintiff cannot recover in excess of

this amount.

                               SIXTH AFFIRMATIVE DEFENSE

        To the extent that Altex did not load, secure, or package the subject cargo, it cannot be held

liable for any damage to the cargo caused by improper loading, securing, or packaging.

                             SEVENTH AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint is barred by Plaintiff’s failure to provide sufficient notice of claim as

required pursuant to Exhibits A and B of Plaintiff’s Complaint, any applicable contracts of

carriage, bills of lading and all applicable transportation contracts, classifications and tariffs, rules

and regulations set forth therein, or any applicable statutory requirements.



                                                   8
    Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 9 of 11 PageID #:108




                              EIGHT AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint is barred pursuant to the suit limitation period set forth in Exhibit A

and B of Plaintiff’s Complaint, any applicable contracts of carriage, bills of lading and all

applicable transportation contracts, classifications and tariffs, rules and regulations set forth

therein, or any applicable statutory requirements.

                              NINTH AFFIRMATIVE DEFENSE

       If the cargo referred to in Plaintiff’s Complaint suffered any loss, damage, and/or delay,

which is herein expressly denied, such loss, damage and/or delay was caused by the acts of

omissions of a third party or parties over whom Altex had no control.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiff failed to mitigate its damages.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff lacks standing to pursue the claims asserted in its Complaint.

                            TWELFTH AFFIRMATIVE DEFENSE

       As the subject cargo was in interstate transit at the time of the alleged damage, Plaintiff’s

Complaint is preempted, in whole or in part, by the Carmack Amendment to the Interstate

Commerce Act, 49 U.S.C §14706.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       Altex hereby reserves its right to amend or assert additional affirmative defenses as further

information becomes available.

       WHEREFORE, Defendant ALTEX TRANSPORTATION, INC., respectfully requests

that this Honorable Court enter judgment for it and against Plaintiff, and for any and all other relief

this Court deems equitable and just.



                                                   9
    Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 10 of 11 PageID #:109




                                                           Respectfully submitted,

                                                           ALTEX TRANSPORTATION, INC.

                                                           By: s/ Scott Wing
                                                               One of the Attorneys for Defendant


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                                                               10
   Case: 1:21-cv-03625 Document #: 23 Filed: 04/26/22 Page 11 of 11 PageID #:110




                                CERTIFICATE OF SERVICE

     I hereby certify that on April 26, 2022, I electronically filed the foregoing using the Court’s
CM/ECF system, which will send notification of such filing to all parties of record.

                                              Respectfully submitted,

                                               /s/ Scott Wing
                                              _________________________________
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                                                11
